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                                                                                            4/30/2020
                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK
                                  CASE NO. 13-CR-811


UNITED STATES OF AMERICA                     )              ORDER ON MOTION FOR
                                             )              REDUCTION IN SENTENCE
               V.                            )              UNDER 18 U.S.C. § 3582(c)(1)(A)
JOEL PRADO (No. 76900-054)
                                             )              (COMPASSIONATE RELEASE)
_______________________________              )

       Upon motion of ✓
                      ☐ the defendant ☐ the Director of the Bureau of Prisons for a reduction

in sentence pursuant to 18 U.S.C. § 3582(c)(1)(A), and after considering the applicable factors set

forth in 18 U.S.C. § 3553(a) and the applicable policy statements issued by the Sentencing

Commission to the extent they are relevant to whether a deduction is warranted (and, if so, the

amount of the reduction),

IT IS ORDERED that the motion is:

✓
☐ GRANTED

       ✓
       ☐ The defendant’s previously imposed sentence of imprisonment of 39 Months is reduced

to ____________________________; or

       ✓
       ☐ Time served:

               ☐      The defendant is to remain in Bureau of Prisons custody until the

                      defendant’s residence can be verified or a release plan can be developed.

                      Additional custody shall not exceed _____ days unless extended by the

                      Court, or

              ✓
              ☐       An appropriate release plan is in place and the defendant shall be released

                      immediately.
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                                           SUPERVISED RELEASE

       ☐ The defendant’s term of supervised release is unchanged.

       ☐ The defendant’s term of supervised release is changed from _____ to _______.

       ☐ The defendant’s conditions of supervised release are unchanged.

       ✓
       ☐ The defendant’s conditions of supervised release are modified as follows:

Special Condition: 6 Months Home Confinement




☐ DEFERRED pending supplemental briefing and/or a hearing. The court DIRECTS the United

States Attorney to file a response on or before _________________, along with all Bureau of

Prisons records [medical, institutional, administrative] supporting the approval or denial of this

motion.

☐ DENIED after complete review of the motion on the merits.

       ☐ FACTORS CONSIDERED (Optional)
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       ☐ DENIED WITHOUT PREJUDICE for failure to exhaust remedies (failure to fully

exhaust all administrative rights to appeal a failure of the Bureau of Prisons to bring a motion on

the defendant’s behalf; the lapse of 30 days from the receipt of such a request by the Warden,

whichever is earlier).



IT IS SO ORDERED.

April 30, 2020                                       ________________________________
                                                     UNITED STATES DISTRICT JUDGE
